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 7
                                UNITED STATES DISTRICT COURT
 8
                               WESTERN DISTRICT OF WASHINGTON
                                         AT TACOMA
 9

10      FLOORING ASSOCIATES, INC.,
                                                            CASE NO. 2:20-cv-00057-JCC-JRC
11                             Plaintiff,
                                                            STIPULATED PROTECTIVE
12               v.                                         ORDER
13      DESIGN MANUFACTURING
        INTERNATIONAL, LLC., et al.,
14
                               Defendants.
15

16          COME NOW Plaintiff Flooring Associates, Inc. and Defendants Design Manufacturing

17   International, LLC and Cavan Carpets (collectively, the “Parties”), by and through their counsel

18   of record, and present the following Stipulated Protective Order:

19          1.        PURPOSES AND LIMITATIONS.

20          Discovery in this action is likely to involve production of confidential, proprietary, or

21   private information for which special protection may be warranted. Accordingly, the parties

22   hereby stipulate to and petition the court to enter the following Stipulated Protective Order. The

23   parties acknowledge that this agreement is consistent with LCR 26(c). It does not confer blanket

24


     STIPULATED PROTECTIVE ORDER - 1
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 1   protection on all disclosures or responses to discovery, the protection it affords from public

 2   disclosure and use extends only to the limited information or items that are entitled to confidential

 3   treatment under the applicable legal principles, and it does not presumptively entitle parties to file

 4   confidential information under seal. Further, nothing in this protective order is to be construed as

 5   a waiver of a parties’ right to assert any objection to a discovery request and withhold any

 6   document on the basis of a valid objection.

 7          2.      “CONFIDENTIAL” MATERIAL.

 8          2.1     “Confidential” material shall include documents and tangible things: from among

 9   the following categories, or other information that a party genuinely maintains as private or

10   confidential independent of this litigation:

11
                    a. Documents which constitute or describe Design Manufacturing
12                     International, LLC's and Cavan Carpets' product designs,
                       formulas and/or specifications;
13                  b. Documents which constitute or describe Design Manufacturing
                       International, LLC's and Cavan Carpets' manufacturing
14                     processes or procedures;
15                  c. Documents which constitute or describe the parties’ sales and
                       financial data related to its products and operations;
16
                    d. Documents which constitute or describe the parties’ personnel
17                     records;
                    e. Documents which constitute or describe the parties’
18                     merchandising and/or marketing plans or strategies;

19                  f. Documents which contain information about the parties’
                       customers, including individual employees as well as entities;
20
                    g. Documents which constitute or describe the parties’
                       agreements, sales data, and customer lists;
21
                    h. Documents which constitute or describe Design Manufacturing
22                     International, LLC's and Cavan Carpets' product distribution
                       network;
23
                    i. Documents which constitute or describe Design Manufacturing
24                     International, LLC's and Cavan Carpets' product distribution


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 1                       network;

 2                   j. Documents which contain personal identifying information of a
                        person who has made a warranty claim related to a Design
 3                      Manufacturing International, LLC's and Cavan Carpets'
                        product;
 4                   k. Documents which constitute or describe Design Manufacturing
                        International, LLC's and Cavan Carpets' claims handling
 5                      methods, processes, and/or policies;
 6                   l. Documents or things which belong to a third-party to this
                        action that (i) a producing party has designated as confidential
 7                      pursuant to this protective order and is producing the
                        documents pursuant to a subpoena (ii) the producing party has
 8                      in its possession, custody, or control solely because of
                        discovery or other disclosures made by a party to this
 9                      proceedings and made pursuant to this protective order;

10                   m. Document which constitute or describe Design Manufacturing
                        International, LLC's and Cavan Carpets' patents, patent
11                      applications, or trade secrets;
                     n. Documents which contain personal identifying information of
12                      an individual.

13
             2.2     By making or agreeing to a designation of Confidential material, the parties do not
14
     concede the relevance or availability of such material nor waive any valid objection to the
15
     production of such categories of material. Likewise, the parties do not concede that such material
16
     is entitled to be filed under seal.
17
             3.      SCOPE
18
             The protections conferred by this agreement cover not only Confidential material (as
19
     defined above), but also (1) any information copied or extracted from Confidential material; (2)
20
     all copies, excerpts, summaries, or compilations of Confidential material; and (3) any testimony,
21
     conversations, or presentations by parties or their counsel that might reveal Confidential material.
22
     However, the protections conferred by this agreement do not cover information that is in the public
23
     domain or becomes part of the public domain through trial or otherwise.
24


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 1          4.      ACCESS TO AND USE OF CONFIDENTIAL MATERIAL

 2                  4.1    Basic Principles.

 3          A receiving party may use Confidential material that is disclosed or produced by another

 4   party or by a non-party in connection with this case only for prosecuting, defending, or attempting

 5   to settle this litigation. Confidential material may be disclosed only to the categories of persons

 6   and under the conditions described in this agreement. Confidential material must be stored and

 7   maintained by a receiving party at a location and in a secure manner that ensures that access is

 8   limited to the persons authorized under this agreement.

 9                  4.2    Disclosure of “CONFIDENTIAL” Information or Items.

10          Unless otherwise ordered by the court or permitted in writing by the designating party, a

11   receiving party may disclose any information or item designated "CONFIDENTIAL" only to:

12
                    (a) the receiving party’s counsel of record in this action, as well as
13                       employees of counsel to whom it is reasonably necessary to
                         disclose the information for this litigation;
14                  (b) if the receiving party is not a natural person, then the officers,
                        directors, and employees (including in house counsel) of the
15                      receiving party to whom disclosure is reasonably necessary for
                        this litigation, unless the parties agree that a particular
16                      document or material produced is for Attorney’s Eyes Only
                        and is so designated;
17
                    (c) the receiving party, if the receiving party is a natural person;
18
                    (d) experts and consultants to whom disclosure is reasonably
19                      necessary for this litigation and who have signed the
                        “Acknowledgment and Agreement to Be Bound” (Exhibit A);
20                  (d) the court, court personnel, and court reporters and their staff;

21                  (e) copy or imaging services retained by counsel to assist in the
                        duplication of Confidential material, provided that counsel for
22                      the party retaining the copy or imaging service instructs the
                        service not to disclose any Confidential material to third parties
23                      and to immediately return all originals and copies of any
                        Confidential material;
24


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 1                  (f) during their depositions, witnesses in the action to whom
                        disclosure is reasonably necessary and who have signed the
 2                      “Acknowledgment and Agreement to Be Bound” (Exhibit A),
                        unless otherwise agreed by the designating party or ordered by
 3                      the court. Pages of transcribed deposition testimony or exhibits
                        to depositions that reveal Confidential material must be
 4                      separately bound by the court reporter and may not be
                        disclosed to anyone except as permitted under this agreement;
 5
                    (g) the author or recipient of a document containing the
 6                      information or a custodian or other person who otherwise
                        possessed or knew the information.
 7
                    4.3     Filing Confidential Material.
 8
            Before filing Confidential material or discussing or referencing such material in court
 9
     filings, the filing party shall confer with the designating party to determine whether the designating
10
     party will remove the confidential designation, whether the document can be redacted, or whether
11
     a motion to seal or stipulation and proposed order is warranted. Local Civil Rule 5(g) sets forth
12
     the procedures that must be followed and the standards that will be applied when a party seeks
13
     permission from the court to file material under seal.
14
            5.      DESIGNATING PROTECTED MATERIAL
15
                    5.1     Exercise of Restraint and Care in Designating Material for Protection.
16
            Each party or non-party that designates information or items for protection under this
17
     agreement must take care to limit any such designation to specific material that qualifies under the
18
     appropriate standards. The designating party must designate for protection only those parts of
19
     material, documents, items, or oral or written communications that qualify, so that other portions
20
     of the material, documents, items, or communications for which protection is not warranted are
21
     not swept unjustifiably within the ambit of this agreement.
22
            Mass, indiscriminate, or routinized designations are prohibited. Designations that are
23
     shown to be clearly unjustified or that have been made for an improper purpose (e.g., to
24


     STIPULATED PROTECTIVE ORDER - 5
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 1   unnecessarily encumber or delay the case development process or to impose unnecessary expenses

 2   and burdens on other parties) expose the designating party to sanctions.

 3          If it comes to a designating party’s attention that information or items that it designated for

 4   protection do not qualify for protection, the designating party must promptly notify all other parties

 5   that it is withdrawing the mistaken designation.

 6                  5.2     Manner and Timing of Designations.

 7          Except as otherwise provided in this agreement, or as otherwise stipulated or ordered,

 8   disclosure or discovery material that qualifies for protection under this agreement must be clearly

 9   so designated before or when the material is disclosed or produced.

10
                    (a) Information in documentary form: (e.g., paper or electronic
11                      documents and deposition exhibits, but excluding transcripts of
                        depositions or other pretrial or trial proceedings), the
12                      designating party must affix the word “CONFIDENTIAL” to
                        each page that contains Confidential material. If only a portion
13                      or portions of the material on a page qualifies for protection,
                        the producing party also must clearly identify the protected
14                      portion(s) (e.g., by making appropriate markings in the
                        margins).
15                  (b) Testimony given in deposition or in other pretrial or trial
                        proceedings: the parties and any participating non-parties must
16                      identify on the record, during the deposition, hearing, or other
                        proceeding, all protected testimony, without prejudice to their
17                      right to so designate other testimony after reviewing the
                        transcript. Any party or non-party may, within fifteen (15) days
18                      after receiving a deposition transcript, designate portions of the
                        transcript, or exhibits thereto, as confidential.
19
                    (c) Other tangible items: the producing party must affix in a
20                      prominent place on the exterior of the container or containers
                        in which the information or item is stored the word
21                      “CONFIDENTIAL.” If only a portion or portions of the
                        information or item warrant protection, the producing party, to
22                      the extent practicable, shall identify the protected portion(s).

23
                    5.3     Inadvertent Failures to Designate.
24


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 1          If timely corrected, an inadvertent failure to designate qualified information or items does

 2   not, standing alone, waive the designating party’s right to secure protection under this agreement

 3   for such material. Upon timely correction of a designation, the receiving party must make

 4   reasonable efforts to ensure that the material is treated in accordance with the provisions of this

 5   agreement.

 6          6.      CHALLENGING CONFIDENTIALITY DESIGNATIONS

 7                  6.1      Timing of Challenges.

 8          Any party or non-party may challenge a designation of confidentiality at any time. Unless

 9   a prompt challenge to a designating party’s confidentiality designation is necessary to avoid

10   foreseeable, substantial unfairness, unnecessary economic burdens, or a significant disruption or

11   delay of the litigation, a party does not waive its right to challenge a confidentiality designation by

12   electing not to mount a challenge promptly after the original designation is disclosed.

13                  6.2      Meet and Confer.

14          The parties must make every attempt to resolve any dispute regarding confidential

15   designations without court involvement. Any motion regarding confidential designations or for a

16   protective order must include a certification, in the motion or in a declaration or affidavit, that the

17   movant has engaged in a good faith meet and confer conference with other affected parties in an

18   effort to resolve the dispute without court action. The certification must list the date, manner, and

19   participants to the conference. A good faith effort to confer requires a face-to-face meeting or a

20   telephone conference.

21                  6.3      Judicial Intervention.

22          If the parties cannot resolve a challenge without court intervention, the designating party

23   may file and serve a motion to retain confidentiality under Local Civil Rule 7 (and in compliance

24


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 1   with Local Civil Rule 5(g), if applicable). The burden of persuasion in any such motion shall be

 2   on the designating party. Frivolous challenges, and those made for an improper purpose (e.g., to

 3   harass or impose unnecessary expenses and burdens on other parties) may expose the challenging

 4   party to sanctions. The parties shall continue to maintain the material in question as confidential

 5   until the court rules on the challenge.

 6           7.     PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED IN

 7   OTHER LITIGATION.

 8           If a party is served with a subpoena or a court order issued in other litigation that compels

 9   disclosure of any information or items designated in this action as “CONFIDENTIAL,” that party

10   must:

11                  (a) promptly notify the designating party in writing and include a
                        copy of the subpoena or court order;
12
                    (b) promptly notify in writing the party who caused the subpoena
13                      or order to issue in the other litigation that some or all of the
                        material covered by the subpoena or order is subject to this
14                      agreement. Such notification shall include a copy of this
                        agreement; and
15                  (c) cooperate with respect to all reasonable procedures sought to be
                        pursued by the designating party whose Confidential material
16                      may be affected.
17
             8.     UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL.
18
             If a receiving party learns that, by inadvertence or otherwise, it has disclosed Confidential
19
     material to any person or in any circumstance not authorized under this agreement, the receiving
20
     party must immediately:
21

22                  (a) notify in writing the designating party of the unauthorized
                        disclosures,
23                  (b) use its best efforts to retrieve all unauthorized copies of the
                        protected material,
24


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 1                  (c) inform the person or persons to whom unauthorized disclosures
                         were made of all the terms of this agreement, and
 2
                    (d) request that such person or persons execute the
 3                      “Acknowledgment and Agreement to Be Bound” that is
                        attached hereto as Exhibit A.
 4
            9.      INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
 5
     PROTECTED MATERIAL.
 6
            When a producing party gives notice to receiving parties that certain inadvertently
 7
     produced material is subject to a claim of privilege or other protection, the obligations of the
 8
     receiving parties are those set forth in Federal Rule of Civil Procedure 26(b)(5)(B). This provision
 9
     is not intended to modify whatever procedure may be established in an e-discovery order or
10
     agreement that provides for production without prior privilege review. Parties shall confer on an
11
     appropriate non-waiver order under Fed. R. Evid. 502.
12
            10.     TERMINATION AND RETURN OF DOCUMENTS.
13
            Within 60 days after the termination of this action, including all appeals, each receiving
14
     party must return all Confidential material to the producing party, including all copies, extracts
15
     and summaries thereof. Alternatively, the parties may agree upon appropriate methods of
16
     destruction along with a certification that such Confidential material was destroyed.
17
            Notwithstanding this provision, counsel are entitled to retain one archival copy of all
18
     documents filed with the court, trial, deposition, and hearing transcripts, correspondence,
19
     deposition and trial exhibits, expert reports, attorney work product, and consultant and expert work
20
     product, even if such materials contain Confidential material.
21
            The confidentiality obligations imposed by this agreement shall remain in effect until a
22
     designating party agrees otherwise in writing or a court orders otherwise.
23

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     STIPULATED PROTECTIVE ORDER - 9
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 1   IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.

 2   DATED this             day of October, 2020.

 3
     LAW OFFICE OF JOHN RAZOR                       SELMAN BREITMAN LLP
 4

 5          /s John S. Razor                                /s Eileen I. McKillop
     John S. Razor, WSBA #37352                     Eileen I. McKillop, WSBA #21602
 6   P.O. Box 7138                                  600 University Street, Suite 1800
     Salem, OR 97303                                Seattle, WA 98101
 7   (503) 362-5600                                 (206) 812-0222
     E-mail: john@johnrazor.com                     E-mail: emckillop@selmanlaw.com
 8   Attorney for Plaintiff                         Attorneys for Defendants

 9

10
            PURSUANT TO STIPULATION, IT IS SO ORDERED
11
            IT IS FURTHER ORDERED that pursuant to Fed. R. Evid. 502(d), the production of any
12
     documents in this proceeding shall not, for the purposes of this proceeding or any other federal or
13   state proceeding, constitute a waiver by the producing party of any privilege applicable to those

14   documents, including the attorney-client privilege, attorney work-product protection, or any other

15   privilege or protection recognized by law.

            Dated this 5th day of November, 2020.
16

17

18

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20
                                                          A
                                                          J. Richard Creatura
                                                          United States Magistrate Judge
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     STIPULATED PROTECTIVE ORDER - 10
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 1
                                                EXHIBIT A
 2                    ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
 3            I,   ____________________________________          [print   or   type   full   name],   of

 4   ____________________________________ [print or type full address], declare under penalty of

     perjury that I have read in its entirety and understand the Stipulated Protective Order that was
 5
     issued by the United States District Court for the Western District of Washington on
 6
     _____________in the case of Flooring Associates Inc v. Design Manufacturing International LLC
 7
     et al., 2:20-cv-00057-JCC-JRC. I agree to comply with and to be bound by all the terms of this
 8
     Stipulated Protective Order and I understand and acknowledge that failure to so comply could
 9   expose me to sanctions and punishment in the nature of contempt. I solemnly promise that I will

10   not disclose in any manner any information or item that is subject to this Stipulated Protective

11   Order to any person or entity except in strict compliance with the provisions of this Order.

              I further agree to submit to the jurisdiction of the United States District Court for the
12
     Western District of Washington for the purpose of enforcing the terms of this Stipulated Protective
13
     Order, even if such enforcement proceedings occur after termination of this action.
14
     Date:
15   City and State where sworn and signed:
16   Printed name:

17   Signature:

18

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     STIPULATED PROTECTIVE ORDER - 11
